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           EXHIBIT # 4
  Case 1:24-cv-03880-LDH-LKE Document 8-5 Filed 06/19/24 Page 2 of 2 PageID #: 271


  From: Tyrone Blackburn tblackburn@tablackburnlaw.com
Subject: Filing Correction
   Date: April 5, 2024 at 10:00 PM
     To: KCCOInfo@nycourts.gov


      I think there was an unintentional error by the Clerks office. The office assigned 2 case numbers to the same filing. Additionally, the
      office has not assigned a case number to another case that I filed. Please see attached.

      Regards,

      Tyrone A. Blackburn, Esq.
      T. A. Blackburn Law, PLLC.
      Phone: 347-342-7432
      TABlackburnlaw.com




           Filed              Filed Complaint        Tyler Lilly-UPS
        Compl…T_1.pdf         50953…T_1.pdf          NYS C…ted.pdf
